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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 9:18-CV-81004-ROSENBERG/REINHART

 MELANIE DAVIS,

      Plaintiff,

 v.

 POST UNIVERSITY, INC.,

   Defendant.
 ________________________/

                    ORDER SETTING STATUS CONFERENCE,
                 CALENDAR CALL, AND TRIAL DATE, ORDER OF
         REQUIREMENTS, AND ORDER OF REFERENCE TO MAGISTRATE JUDGE

          This Court enters the following Order to apprise the parties of the trial date in this case and

 to establish certain pretrial procedures. Many of the procedures delineated in this Order are unique

 to the undersigned and, as a result, the parties should carefully review this Order. This Order does

 not contain pretrial deadlines. This Order sets forth all pretrial procedures. A second, separate

 order will establish all pretrial deadlines. It is the Court’s intention that this Order, together with the

 order setting pretrial deadlines, will provide the parties with all of the information they need to

 litigate before this Court. This Order is organized as follows:
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 The parties shall comply with the undersigned’s rules as follows:

          1. TRIAL, CALENDAR CALL, AND STATUS CONFERENCE

          PLEASE TAKE NOTICE that the above-captioned cause is hereby set for Trial before the

 Honorable Robin L. Rosenberg, United States District Judge, at the United States District Court at

 701 Clematis Street, Fourth Floor, Courtroom 2, West Palm Beach, Florida, during the two-week

 trial period commencing September 3, 2019 at 9:00 a.m., or as soon thereafter as the case may be

 called. PLEASE TAKE FURTHER NOTICE that a Status Conference will be held on June 19,

 2019 at 9:30 a.m., and a Calendar Call will be held on August 28, 2019 at 9:00 a.m. Counsel (or a

 pro se party) may appear at the Status Conference and the Calendar Call via telephone but must file

 a notice of telephonic appearance at least one (1) day prior to the Status Conference or Calendar

 Call.1 Instructions for appearing via telephone are as follows:

          1.       Please call five (5) minutes prior to the Status Conference or Calendar Call.
          2.       The toll-free number is: 1 (877) 873-8018.
          3.       The access code is: 9890482.
          4.       The security code is: 4008.
 Unless the parties are notified otherwise, the telephonic instructions listed above will apply to all

 telephonic appearances in this case.

          2. SERVICE

          Unless service is waived, proof of service must be made to the Court by filing the server’s

 affidavit immediately upon receipt. If a Defendant waives service, notice of the same shall be

 immediately filed with the Court.




 1
  The status conference and calendar call will be held at the address and location specified above. In the event the
 Court’s schedule requires the status conference or calendar call to be held at another location, the Court will notify the
 parties by order.
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        3. REFERRAL OF CERTAIN PRETRIAL MOTIONS

        Pursuant to 28 U.S.C. § 636(b)(l)(A) and the Magistrate Judge Rules of the Local Rules of

 the Southern District of     Florida, the above-captioned cause is referred to United States

 Magistrate Judge Bruce E. Reinhart for appropriate disposition of all pro hac vice motions,

 motions to substitute counsel, and pretrial motions related to discovery.

        4. PRETRIAL DEADLINES

        Within two weeks of (1) the date upon which any one defendant appears in this action or (2)

 the rendition of this Order, whichever is later, the parties are directed to prepare and file a joint

 scheduling report (and e-mail a proposed order) as required by Local Rule 16.1.             The joint

 scheduling report shall include all information required by Local Rule 16.1(b)(2) and (b)(3). The

 Court anticipates the following pretrial deadlines barring unusual circumstances:

               Deadline to select a mediator and to schedule a time, date, and place for
                mediation within 30 days of the scheduling order.

               Deadline to amend pleadings and join parties within 60 days of the
                scheduling order.

               Completion of all discovery 120 days prior to trial.

               Deadline for dispositive pretrial motions and Daubert motions (which include
                motions to strike experts) 90 days prior to trial.

               Completion of mediation 60 days prior to trial.

        The parties should address their joint scheduling report and their proposed pretrial deadlines

 to the Court’s anticipated deadlines outlined above. The parties are encouraged to explain their

 proposed deadlines to the extent such deadlines conflict with the Court’s anticipated deadlines

 outlined above. In the event the parties determine that the Court’s trial date should either be

 extended or shortened based upon the expedited, standard, or complex case management tracks

 described in Local Rule 16.1(a), the parties should explain the basis for so concluding, together with


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 any affidavits in support of a continuance that may be necessary under Local Rule 7.6. Finally, the

 parties’ proposed order should be a Microsoft Word document utilizing the format in the Court’s

 sample scheduling order on the undersigned’s webpage at: http://www.flsd.uscourts.gov / content /

 judge-robin-l-rosenberg. In the event the parties do not file a joint scheduling report by the deadline

 established by this Order, the Court will unilaterally determine the pretrial deadlines in this case,

 however, the Court’s determination will not relieve the parties from their obligation to conduct a

 Rule 26(f) conference.

         5. EXTENSIONS OF PRETRIAL DEADLINES

         Provided that all parties are in agreement, any pretrial deadline(s) prior to the deadline for

 the filing of dispositive motions may be modified without Court order by filing a joint notice

 indicating the new pretrial deadline(s) reached by agreement. A motion need not be filed. However,

 if the parties elect to modify deadlines2 by agreement, the parties should not anticipate that the

 Court will modify other deadlines as a result of any possible prejudice to the parties. By way of

 example, if the parties extend the deadline for discovery, the parties should not anticipate that the

 Court will modify the deadline for dispositive motions. Furthermore, the parties are hereby on

 notice that if the parties extend the deadline for discovery, the Court will deem the parties to have

 waived any argument under Rule 56(d) of the Federal Rules of Civil Procedure that a party cannot

 move for or defend against summary judgment because of the extension of the discovery deadline.

 Only when the parties seek and are unable to agree on a modification of a pretrial deadline or seek

 an extension of the deadline for dispositive motions or any deadline following the deadline for

 dispositive motions, should the parties file a motion with the Court. The parties may not utilize this

 procedure to extend the deadline to answer a pleading or to respond to a motion. If any party fails

 to follow the procedures in this order, the Court may deny the motion without prejudice.

 2
   The parties’ modification of the deadline for discovery will not extend the time for any party to file a motion to
 compel. The deadline for discovery motion practice will be governed by the discovery deadline entered by the Court.
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          The parties are cautioned that the Court will not grant continuances of the dispositive motion

 deadline or trial date lightly. Any motion requesting either of these forms of relief should contain

 detailed information in support of the motion, including the amount, timing, and type of discovery

 that was undertaken in the case. The Court’s strong adherence to the dispositive deadline is for the

 parties’ benefit. Because of the amount of time necessary for a dispositive motion to ripen and

 because of the significant amount of time the Court needs in order to properly evaluate and consider

 dispositive motions, the dispositive deadline must be set several months before trial. In the event

 the dispositive deadline is extended, an order granting dispositive relief may come too late to save

 the parties from unnecessary pretrial preparation costs and expenses. Finally, in the event the Court

 declines to extend any deadline, the parties have the option of consenting to magistrate judge

 jurisdiction which affords the parties greater flexibility with pretrial deadlines and a trial date.

          6. JURY TRIALS

          In addition to filing their proposed jury instructions with the Clerk (the date for filing the

 proposed jury instructions is set forth in the pretrial scheduling order), the parties shall also submit

 A SINGLE JOINT SET of proposed jury instructions and verdict form in Word format directly to

 Rosenberg@flsd.uscourts.gov.3 To the extent these instructions are based upon the Eleventh

 Circuit pattern jury instructions, counsel shall indicate the appropriate Eleventh Circuit pattern

 jury instruction upon which their instruction is modeled. All other instructions shall include

 citations to relevant supporting case law.

          The parties need not agree on the proposed language of each instruction or question on the

 verdict form. Where the parties do agree on a proposed instruction or question, that instruction or

 question shall be set forth in Times New Roman 14 point typeface. Instructions and questions


 3
   The joint set of proposed jury instructions should include both preliminary jury instructions (from the appropriate
 Eleventh Circuit pattern instructions) as well as final jury instructions. Proposed voir dire questions and verdict forms
 should be e-mailed in Word format to this e-mail address as well.
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 proposed only by the plaintiff(s) to which the defendant(s) object shall be italicized. Instructions

 and questions proposed only by defendant(s) to which plaintiff(s) object shall be bold-faced. Each

 jury instruction shall be typed on a separate page and, except for Eleventh Circuit pattern

 instructions clearly identified as such, must be supported by citations to authority. In preparing the

 requested jury instructions, the parties shall use as a guide the pattern jury instructions for civil

 cases approved by the Eleventh Circuit, including the directions to counsel contained therein.

        7. BENCH TRIALS

        An additional copy of all proposed Findings of Fact and Conclusions of Law (the date for

  filing the proposed Findings of Fact and Conclusion of Law is set forth in the pretrial scheduling

  order) shall be sent in Word format to the chambers e-mail account listed above. Proposed

  Conclusions of Law must be supported by citations to authority.

        8. EXHIBIT AND WITNESS LISTS

        Counsel shall submit to the Court a typed list of proposed witnesses and/or exhibits (the date

 for filing the proposed witnesses and/or exhibit lists is set forth in the pretrial scheduling order). All

 exhibits shall be pre-labeled in accordance with the proposed exhibit list, and only numerical

 sequences are permitted—alphabetical designations shall not be used. Exhibit labels must include

 the case number, the exhibit number, and the party offering the exhibit. A typewritten exhibit list

 setting forth the number, or letter, and description of each exhibit must be submitted prior to trial.

 Any composite exhibits should be listed separately, i.e. 1A, 1B, 1C, etc. The parties shall submit

 said exhibit list on AO Form 187, which is available from the Clerk’s office and at

 http://www.uscourts.gov/services-forms/forms. At trial, the parties shall deliver to the Court a USB

 flash drive that contains digital copies of the exhibits. The parties must also comply with Local

 Rule 5.3.

        9. TRIAL PLAN AND STATUS CONFERENCE

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          At the Status Conference, the Court will require all parties to estimate the total number of

 witnesses each party intends to call at trial and to estimate the total amount of time requested for

 trial.

          The parties shall file a joint trial plan no later than two (2) business days prior to Calendar

 Call. By way of example, if Calendar Call falls on a Wednesday, the joint trial plan shall be filed

 no later than the preceding Monday at 11:59 p.m. Also by way of example, if Calendar Call falls on

 a Wednesday and the preceding Monday is a federal holiday, the joint trial plan shall be filed no

 later than the preceding Friday at 11:59 p.m. The joint trial plan shall set forth the following

 information: (1) the anticipated length of time required for each party’s opening statement; (2) the

 witnesses each party intends to call at trial, listed in the order in which these witnesses will be

 called;4 (3) a brief description of each witness (e.g., the identity of the witness and the relationship

 of the witness to any parties in the case); (4) whether the witness is an expert and, if so, the area of

 expertise of the witness; (5) whether each witness will testify live, by video deposition, or by

 reading of deposition testimony; (6) the anticipated length of time required for direct examination,

 cross examination, and redirect examination of each witness; (7) the anticipated length of time

 required for each party’s closing argument; (8) any additional matters that may affect the course of

 trial; and (9) an accurate summation of the total time allocated in the trial plan.

          The Court prefers the trial plan to be submitted using the following format:




 4
   If adjustments become necessary during trial, the Court will not require the parties to call their witnesses in the order
 in which they are listed in the joint trial plan, as long as sufficient advance notice of the adjustments is provided to the
 Court and opposing counsel. However, the Court expects very little deviation from the joint trial plan in all other
 respects.
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         Prior to filing the joint trial plan, the parties shall meet and confer regarding the matters

 outlined therein. The parties shall certify in the joint trial plan that they have complied with this

 requirement.

         10. HEARINGS

         The Court will review sua sponte any motions (other than those referred to the Magistrate

 Judge) and determine which motions are appropriate for a hearing. Counsel is allowed to appear in

 person or via telephone, unless the Court instructs otherwise. In order to appear via telephone,

 counsel must file a notice of telephonic appearance, as set forth in the Order Setting Hearing, at

 least one (1) day prior to the hearing. The Court will endeavor to give the parties as much notice of

 the scheduled hearing as possible, but, at times, notice may be within a week of the hearing. The

 Court’s sua sponte setting of hearings on motions does not preclude the parties from requesting oral

 argument, as appropriate, on filed motions. Finally, counsel should keep in mind the need to

 provide courtroom experience to the next generation of practitioners and, as a result, the Court will

 particularly welcome any lawyer with four or fewer years of experience to argue any of the motions

 set for a hearing.

         11. MOTIONS FOR SUMMARY JUDGMENT AND STATEMENTS OF MATERIAL
             FACTS

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         Local Rule 56.1(a) requires a motion for summary judgment (and opposition thereto) to be

 accompanied by a statement of material facts. Pursuant to Local Rule 56.1(a)(2), this statement of

 material facts must be supported by specific references to pleadings, depositions, answers to

 interrogatories, admissions, and affidavits on file with the court. In the event a respondent fails to

 controvert a movant’s supported material facts in an opposing statement of material facts, the

 movant’s material facts will be deemed admitted. Local Rule 56.1(b). In the interest of judicial

 economy, in the interest of proper and careful consideration of each party’s statement of material

 facts, and in the interest of determining matters on summary judgment on the merits, the Court

 hereby orders the parties to file any statement of material facts as follows:

         A statement of material facts shall be a separate filing from a motion for summary judgment

 or a response to a motion for summary judgment.

         Each material fact in the statement that requires evidentiary support shall be supported by a

 specific citation. This specific citation shall reference pages (and line numbers, if necessary) of

 exhibits. When a material fact requires evidentiary support, a general citation to an exhibit,

 without a page number or pincite, is not permitted.

         Each cited exhibit must be an attachment to the statement of material facts. By way of

 example, a statement of material facts may be filed in CM/ECF5 with attachments as follows:




 5
  The Court recognizes that pro se parties do not have control over how their filings appear in CM/ECF. Nonetheless, a
 pro se litigant’s paper filing must comply with the requirements of this Order.
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            All citations in the statement of material facts must cite to the attached exhibits. For

 example, a citation could be to “Exhibit A, ¶ 2” or (for a deposition) “Exhibit C, p. 12 line 15” or

 “Exhibit C, 12:15”.6 Hypothetical unacceptable citations include the following: “Exhibit B” or

 “Smith Affidavit”. Similarly, a party should not cite to “Smith Affidavit, pgs. 223-24” and should

 instead cite to “Exhibit E, Smith Affidavit, pgs. 223-24”.

            A respondent’s statement of material facts must specifically respond to each statement in the

 movant’s statement of material facts. By way of example, if a movant’s statement of material facts

 reads as follows:

                                  MOVANT’S STATEMENT OF MATERIAL FACTS

            1. Blackacre is owned by Movant. Exhibit B, ¶ 2.

            2. Blackacre is currently under contract for sale. Exhibit C, pgs. 2-4.


 6
     The citations in this section are not intended to correspond directly to the example image of a filing in CM/ECF.
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 A respondent’s statement of material facts must clearly respond to each of the foregoing:

                  RESPONDENT’S STATEMENT OF DISPUTED FACTS
              IN OPPOSITION TO MOVANT’S STATEMENT OF MATERIAL
             FACTS AND STATEMENT OF ADDITIONAL MATERIAL FACTS
         IN OPPOSITION TO MOVANT’S MOTION FOR SUMMARY JUDGMENT

        Paragraph 1: Undisputed

        Paragraph 2: Disputed. The contract for sale was never executed. Exhibit A, ¶ 5.



 As shown above, the first word in each response must be “disputed” or “undisputed.” If a statement

 is disputed, the evidentiary citations supporting that dispute must be limited to evidence specific to

 the dispute. Additional facts that do not directly refute the disputed fact should be included in the

 respondent’s own statement of (additional) material facts.

        In the event a party fails to comply with the requirements delineated in this section, the

 Court may strike the deficient statement of material facts and require immediate compliance, grant

 an opposing party relief, or enter any other sanction that the Court deems appropriate.

        12. MOTIONS IN LIMINE

        Each party is limited to filing one motion in limine that contains no more than three requests

 for relief. Any party may move for a modification of this limitation at least one week in advance of

 the deadline for filing motions in limine and must provide a detailed basis to support the requested

 relief. Motions in limine that request for the Court to order the opposing party to comply with the

 Federal Rules of Evidence are improper and may be denied immediately.

        13. MOTIONS TO STRIKE AFFIRMATIVE DEFENSES

        Motions to strike are generally disfavored as courts consider them “a drastic remedy to be

 resorted to only when required for the purposes of justice” that should only be granted when

 allegations “have no possible relation to the controversy.” Augustus v. Bd. of Pub. Instruction , 306
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 F.2d 862, 868 (5th Cir. 1962). Accordingly, this Court disfavors motions to strike affirmative

 defenses. The Court will not permit a defendant to raise an affirmative defense that is not, in fact,

 an affirmative defense. The Court will instead construe improper affirmative defenses as denials.

 See Ramnarine v. CP RE Holdco 2009-1, LLC, No. 12-61716, 2013 WL 1788503, at *4 (S.D. Fla.

 Apr. 26, 2013) (“The proper remedy when a party mistakenly labels a denial as an affirmative

 defense is not to strike the claim but instead to treat it as a specific denial.”). Nonetheless, the Court

 does not prohibit any party from filing a motion to strike affirmative defenses. In the event a party

 elects to file a motion to strike affirmative defenses, however, the party must certify in the opening

 paragraph of the motion that the party has read and considered this section in the Court’s Order and

 has considered the case law cited herein.




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        14. DEPOSITION DESIGNATIONS AND OBJECTIONS TO EXHIBITS

        In the experience of this Court, only a small fraction of deposition designations are utilized

 at trial. Juxtaposed to the small amount of deposition designation testimony utilized at trial is the

 large amount of time and expense that deposition designations entail: the proponent must study a

 deposition to designate relevant testimony, the opposing party must prepare objections to designated

 testimony, the proponent must thereafter respond to the opposing party’s objections, the parties

 must confer on all objections, the Court must hear argument on unresolved, contested objections,

 and the Court must, in many cases, review extensive portions of deposition transcripts. The Court’s

 review of deposition transcripts is complicated by the fact that the Court is often without the

 benefit—unlike the parties—of the context of the entire scope of evidence that will be introduced at

 trial. The foregoing impacts the amount of time the parties have to prepare for the trial and the

 amount of time that jurors may spend hearing evidence on a given trial day. In summary, the

 foregoing affects the Court’s and the parties’ obligations under Rule 1 of the Federal Rules of Civil

 Procedure. Rule 1 requires that the Federal Rules be “construed, administered, and employed by

 the court and the parties to secure the just, speedy, and inexpensive determination of every action

 and proceeding.” In accordance with its obligations under Rule 1, the Court orders the following.

        First, the parties are ordered to provide the Court with a deposition designation notebook.

 This notebook must be delivered to Chambers on the same day that the parties’ jury instructions or

 proposed findings and conclusions are due. Second, the notebook (or notebooks) must contain the

 full deposition transcript for each designated witness. Third, the designated (or counter-designated)

 testimony for each witness must be highlighted and easy to locate and identify. Fourth, objections

 to the designated testimony must be supplemented with an appendix that contains detailed legal

 argument explaining the objections, together with a response from the opposing party. Fifth and



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 finally, an objection to designated testimony may only be raised after a full, reasonable conferral

 between the parties on the issue in dispute as more fully set forth below.

         Deposition designation objections must be accompanied by a certification, by the party

 objecting, that: (i) the parties have conferred on the objection, (ii) the objection is raised in good

 faith, (iii) the objection raises an issue that the parties, working together as professionals, cannot

 resolve without court intervention, and (iv) the expenditure of judicial labor is the only avenue by

 which the dispute may be resolved. The Court will carefully consider all of the objections brought

 to its attention. In the event the Court concludes that a designating party or counsel, or an objecting

 party or counsel, has failed “to secure the just, speedy, and inexpensive determination of every

 action and proceeding,” the Court may consider sanctions, as appropriate. Similarly, if the Court

 concludes that objections to designations must be ruled upon contemporaneously with the reading

 of designated testimony7 at trial because of a party or counsel’s failure to comply with this Order,

 the Court may consider sanctions, as appropriate.

         Finally, the requirements in the preceding paragraph apply to the parties’ objections to

 exhibits. The parties are expected to fully and reasonably confer on every objection to an exhibit.

 In the event the Court determines that objections to exhibits are objections that could have been

 resolved through a full, reasonable, and professional conferral, the Court may consider sanctions, as

 appropriate.

         15. PRETRIAL STIPULATION

         The Joint Pretrial Stipulation shall conform to S.D. Fla. L.R. 16.1(e). The Court will not

 accept unilateral pretrial stipulations, and will strike sua sponte any such submissions. Should any

 of the parties fail to cooperate in preparing the Joint Pretrial Stipulation, all parties shall file (by the

 date the pretrial stipulation was due) a certification with the Court stating the circumstances. Upon

 7
   Such a ruling may mean that a transcript of a video deposition must be read in lieu of presentation of the video
 recording.
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 receipt of such certifications, the Court may issue an order requiring the non-cooperating party or

 parties to show cause why such party or parties, or their respective attorneys, should not be

 sanctioned for the failure to comply with the Court’s order. The pretrial disclosures and objections

 required under Fed. R. Civ. P. 26(a)(3) should be served, but not filed with the Clerk’s Office, as

 the same information is required to be attached to the parties’ Joint Pretrial Stipulation. The filing

 of a motion to continue trial shall not stay the requirement for the filing of a Pretrial Stipulation.

        16. COMPUTERS AND OTHER EQUIPMENT

        Counsel desiring to utilize laptop computers or other electronic equipment in the courtroom

 shall file a motion and submit a proposed order granting such use one week prior to the

 commencement of trial. The motion and proposed order should describe with specificity (1) the

 equipment, (2) the make and model of the equipment, and (3) the identity of the person who will

 bring the proposed equipment. A sample order permitting electronic equipment into the courtroom

 is available for viewing on the Court’s website at: http://www.flsd.uscourts.gov / content / judge-

 robin-l-rosenberg. Counsel shall contact the courtroom deputy at least one week prior to trial to

 discuss any special equipment (video monitor, etc.) that may require special arrangements.

        17. NON-COMPLIANCE WITH THIS ORDER

        Intentional or repeated non-compliance with any provision of this Order may subject the

 non-complying party or counsel to appropriate sanctions. It is the duty of all counsel to enforce the

 timetable set forth herein in order to ensure an expeditious resolution of this cause.

        18. SETTLEMENT

        If the case is settled, counsel shall so inform the Court within two court-days of settlement

 by submitting an appropriate notice of settlement, stipulation for dismissal, or motion for dismissal,

 pursuant to Federal Rule of Civil Procedure 41(a). See Local Rule 16.4. The parties shall attend all

 hearings and abide by all time requirements unless and until an order of dismissal is filed.

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         19. COMMUNICATION WITH CHAMBERS

         Rules   regarding   communication     with   Chambers       are   available   for   viewing   at

 http://www.flsd.uscourts.gov / content / judge-robin-l-rosenberg.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 20th day of August,

 2018.



                                                      _______________________________
 Copies furnished to:                                 ROBIN L. ROSENBERG
 Counsel of record                                    UNITED STATES DISTRICT JUDGE




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